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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                           ENTERED
                                                                                            06/21/2018
IN RE:                                         §
                                               §       CASE NO: 17-36174
BILLY JOE CRAWFORD JR., et al                  §       CHAPTER 13
                                               §
         Debtor(s).                            §       DAVID R. JONES

                                          ORDER
                                       (Docket No. 42)

       The Motion for Relief from Automatic Stay Regarding Possessory Interest in 18203
Maple Arbor Court, Cypress, Texas is denied without prejudice to the filing and prosecution of a
proper motion in accordance with the governing rules.

       SIGNED: June 21, 2018.


                                                ___________________________________
                                                DAVID R. JONES
                                                UNITED STATES BANKRUPTCY JUDGE




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